        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 1 of 14




                IN THE UNITED STATES DISTRICT COURT FOR
                   THE WESTERN DISTRICT OF OKLAHOMA

MICHAEL HANSON, JR.,                      )
                                          )
       Petitioner,                        )
                                          )
v.                                        )      Case No. CIV-24-102-SLP
                                          )
KELLI DAVIS,                              )
                                          )
       Respondent.                        )

       BRIEF IN SUPPORT OF PRE-ANSWER MOTION TO DISMISS
PETITION FOR WRIT OF HABEAS CORPUS FOR LACK OF JURISDICTION
OVER CASE NO. CF-2022-465 AND COUNTS 1-27 AND 30-32 OF CASE NO. CF-
  2022-1542 AND FOR FAILURE TO EXHAUST STATE COURT REMEDIES

       Comes now Respondent, by and through the Attorney General of the State of

Oklahoma, Gentner F. Drummond, and in support of his Pre-Answer Motion to Dismiss

Petition for Writ of Habeas Corpus for Lack of Jurisdiction Over Case No. CF-2022-465

and Counts 1-27 and 30-32 of Case No. CF-2022-1542 and for Failure to Exhaust State

Court Remedies, files the following Brief in Support. 1 For the reasons set forth herein,

Respondent asserts that this Court should dismiss the instant petition.

                              PROCEDURAL HISTORY

       Michael Hanson, Jr., hereinafter referred to as Petitioner, seeks to challenge his

Judgments and Sentences from Oklahoma County District Court Case Nos. CF-2022-465



1
  This Court’s Order calling for a response expressly states that “Respondent shall file an
answer, motion or other response within thirty days from this order’s date, consistent with
Rule 5 of the Rules Governing Section 2254 Cases.” Doc. 11. In the event this Court denies
this motion to dismiss, Respondent respectfully requests permission to file a response on
the merits.
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 2 of 14




and CF-2022-1542. Doc. 10 at 1. 2 In Case No. CF-2022-465, Petitioner was convicted on

March 15, 2023, upon his plea of guilty to Obtaining Money by Trick or Deception, and

was sentenced to two years imprisonment to be served concurrently with his sentences in

Case No. CF-2022-1542; the state district court also imposed restitution in the amount of

$1,800 (Exhibit 1, Plea of Guilty Summary of Facts for Case No. CF-2022-465; Exhibit 2,

Judgment and Sentence for Case No. CF-2022-465). 3 In Case No. CF-2022-1542,

Petitioner was convicted on March 15, 2023, upon his plea of guilty to thirty-two counts

of Embezzlement (Counts 1-32) and one count of Racketeering (Count 33) (Exhibit 3, Plea

of Guilty Summary of Facts for Case No. CF-2022-1542; Exhibit 4, Judgment and

Sentence for Case No. CF-2022-1542). Petitioner was sentenced to one year imprisonment

on each of Counts 1-11, two years imprisonment on each of Counts 12-27, eight years

imprisonment on each of Counts 28-29, six months imprisonment on each of Counts 30-

32, and twelve years imprisonment on Count 33 (Exhibit 4). Counts 1-32 were ordered to

run concurrently with each other and with Case No. CF-22-465, but Count 33 was ordered



2
  Respondent’s citations to the page numbers of Petitioner’s petition refer to the
electronically-stamped page numbers.
3
 Petitioner lists Case No. CF-2022-465 as a conviction he is challenging in this petition.
Doc. 10 at 1. However, in identifying the crimes of which he was convicted, Petitioner lists
only his crimes from Case No. CF-2022-1542; he does not list his conviction for Obtaining
Money by Trick or Deception in Case No. CF-2022-465. Doc. 10 at 1. Nor does he make
any further reference to Case No. CF-2022-465. Doc. 10 at 1-27. Therefore, it does not
appear that Petitioner is challenging his conviction in Case No. CF-2022-465. To the extent
he is, however, Respondent shows herein that he is no longer in custody on this conviction,
and was not in custody at the time he filed his habeas petition.



                                             2
         Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 3 of 14




to run consecutively to the other counts (Exhibit 4). In both cases, the state district court

granted Petitioner credit for time served (Exhibit 2; Exhibit 4). Petitioner has not moved to

withdraw his pleas in either case, nor has he otherwise appealed his convictions in state

court (Exhibit 5, Docket Sheet from Case No. CF-2022-465; Exhibit 6, Docket Sheet from

Case No. CF-2022-1542).

       On December 5, 2023, Petitioner filed his petition for habeas relief in the United

States District Court for the Eastern District of Oklahoma; 4 the petition was transferred to

this Court on January 29, 2024. Doc. 1; Doc. 3. On March 4, 2024, Petitioner filed an

amended petition in this Court, raising the following claims:

       Ground One:       “Ineffective Counsel”

       Ground Two:       “Aberrant Behavior”

       Ground Three:     “Def. Present Health and Family Circumstances”

       Ground Four:      “This case turned political”

Doc. 10 at 5, 7, 8, 10 (grammar, syntax, spelling, and capitalization in original). Petitioner

is no longer in custody on Case No. CF-2022-465, or Counts 1-27, or 30-32 of Case No.

CF-2022-1542. Further, none of Petitioner’s habeas claims have been presented to the




4
  The petition was file-stamped December 8, 2023, but Petitioner placed it in the prison
mail system on December 5, 2023. Doc. 1 at 8. With application of the prison mailbox rule,
the petition is deemed filed on December 5, 2023. See Price v. Philpot, 420 F.3d 1158,
1163-64 (10th Cir. 2005) (providing that a pro se petitioner’s filing “will be considered
timely if given to prison officials for mailing prior to the filing deadline, regardless of when
the court itself receives the documents” (citing Houston v. Lack, 487 U.S. 266, 276
(1988))).
                                               3
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 4 of 14




Oklahoma Court of Criminal Appeals (“OCCA”). Petitioner’s petition should be

dismissed.

                          ARGUMENT AND AUTHORITY

   A. This Court lacks subject matter jurisdiction over Petitioner’s claims
      insofar as they challenge his conviction in Case No. CF-2022-465 and
      Counts 1-27 and 30-32 of Case No. CF-2022-1542 because Petitioner is
      no longer in custody on those counts, and was not in custody on those
      counts when he filed his petition.

       “The first showing a § 2254 petitioner must make is that he is ‘in custody pursuant

to the judgment of a State court.’” Lackawanna County Dist. Att’y v. Coss, 532 U.S. 394,

401 (2001) (quoting 28 U.S.C. § 2254(a)). “A petitioner must satisfy the custody

requirement at the time the habeas petition is filed.” Calhoun v. Att’y Gen. of Colo., 745

F.3d 1070, 1073 (10th Cir. 2014) (citing Spencer v. Kemna, 523 U.S. 1, 7 (1998)). “‘The

custody requirement is jurisdictional.’” Id. (quoting Mays v. Dinwiddie, 580 F.3d 1136,

1139 (10th Cir. 2009)).

       Petitioner’s Consolidated Record Card from the Oklahoma Department of

Corrections shows he discharged his sentence in Case No. CF-2022-465, and his sentences

on Counts 1-11 of Case No. CF-2022-1542 on June 30, 2023 (Exhibit 7, Consolidated

Record Card). It further shows he discharged his sentences on Counts 12-27 of Case No.

CF-2022-1542 on November 18, 2023 (Exhibit 7). Though the Consolidated Record Card

does not list Counts 30-32 of Case No. CF-2022-1542, that is likely because the six-month

sentences on those counts were completely served before he was even received into the




                                            4
           Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 5 of 14




custody of the Department of Corrections (Exhibit 4; Exhibit 7). 5 In any event, Petitioner

was sentenced on March 15, 2023, and has “therefore long ago discharged” these six-month

sentences (Exhibit 4). Mantzke v. Province, No. CIV-08-1056-C, 2009 WL 2409070, *3

(W.D. Okla. Aug. 3, 2009) (unpublished) (noting the petitioner had been in custody of the

Department of Corrections since March of 2006 “and therefore long ago discharged his ten

day sentence for failing to use a turn signal”).

         Petitioner filed his petition on December 5, 2023, see Doc. 1 at 8, but on that date,

the only sentences he was serving are his eight-year sentences on Counts 28 and 29, and

his consecutive twelve-year sentence on Count 33 (Exhibit 4; Exhibit 7). See Calhoun, 745

F.3d at 1073 (“A petitioner must satisfy the custody requirement at the time the habeas

petition is filed.”). In Mantzke, 2009 WL 2409070, *1, the petitioner challenged his

convictions for drug trafficking, for which he was sentenced to life without parole, and two

misdemeanor convictions for possession of drug paraphernalia and failure to use a turn

signal, for which he was sentenced to one year and ten days, respectively. In his fourth

ground, Petitioner challenged the jury instructions relating to the charge of failure to use a

turn signal. Id., 2009 WL 2409070, *3. This Court found it lacked jurisdiction over the

petitioner’s claim in his fourth ground. Id., 2009 WL 2409070, *4. Because the petitioner’s

“sentence for the failure to use his turn signal ha[d] fully expired, he [was] no longer in

custody for this conviction,” and this Court concluded he could “not attack it in a § 2254

petition.” Id.



5
    Petitioner was granted credit for time served in both of his cases (Exhibit 2; Exhibit 4).
                                                5
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 6 of 14




       As in Mantzke, Petitioner in this case fully discharged the sentences on his

convictions in Case No. CF-2022-465, and Counts 1-27 and 30-32 of Case No. CF-2022-

1542 on June 30, 2023 and November 18, 2023, at the latest. Any claims raised in this

petition regarding those counts must be dismissed with prejudice for lack of jurisdiction.

See Lackawanna, 532 U.S. at 401; Calhoun, 745 F.3d at 1073; Mantzke, 2009 WL

2409070, *4. See also Mays v. Dinwiddie, No. 07-CV-0599-CVE-FHM, 2008 WL

3012966, *2 (N.D. Okla. Aug. 1, 2008) (unpublished) (dismissing the petitioner’s habeas

petition with prejudice where the petitioner was not in custody on the challenged conviction

at the time he filed his petition). As Petitioner remains in custody only on Counts 28, 29,

and 33 of Case No. CF-2022-1542, those are the only convictions he may challenge in this

habeas petition. Lackawanna, 532 U.S. at 401. However, because Petitioner has not

exhausted his state court remedies as to any of the claims he raises in this petition, his

petition must nevertheless be dismissed.

   B. Petitioner’s entire petition must be dismissed because he has not
      exhausted his state court remedies with respect to any of the claims
      raised in his federal habeas petition.

       It is well settled that for a petitioner to be entitled to habeas corpus relief under 28

U.S.C. § 2254, he must completely exhaust all of his state remedies before coming to the

federal courts. Rose v. Lundy, 455 U.S. 509, 515 (1982). Under the habeas corpus statutes

a writ may not be granted unless the claim is exhausted, and Respondent must expressly

waive exhaustion. 28 U.S.C. § 2254(b)(1) & (3). Respondent does not waive exhaustion.

The petitioner must give the state courts an opportunity to act on his claims before he

presents those claims to a federal court in a habeas petition. O’Sullivan v. Boerckel, 526

                                              6
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 7 of 14




U.S. 838, 842 (1999). The United States Supreme Court re-emphasized the importance of

exhaustion in Harrington v. Richter, 562 U.S. 86 (2011):

              Section 2254(d) is part of the basic structure of federal habeas
              jurisdiction, designed to confirm that state courts are the
              principal forum for asserting constitutional challenges to state
              convictions. Under the exhaustion requirement, a habeas
              petitioner challenging a state conviction must first attempt to
              present his claim in state court. 28 U.S.C. § 2254(b).

Id., 562 U.S. at 103.

       The exhaustion rule “ensures that state courts have the opportunity to fully consider

federal-law challenges to a state custodial judgment before the lower federal courts

entertain a collateral attack upon that judgment.” Duncan v. Walker, 533 U.S. 167, 178-79

(2001). “This requirement ‘is principally designed to protect the state courts’ role in the

enforcement of federal law and prevent disruption of state judicial proceedings.’” Id., 533

U.S. at 179 (quoting Rose, 455 U.S. at 518). The exhaustion rule is also a matter of comity

as “‘it would be unseemly in our dual system of government for a federal district court to

upset a state court conviction without an opportunity [for] the state courts to correct a

constitutional violation.’” Id. (quoting Rose, 455 U.S. at 518). “Generally, a federal court

should dismiss unexhausted claims without prejudice so that the petitioner can pursue

available state-court remedies.” Bland v. Sirmons, 459 F.3d 999, 1012 (10th Cir. 2006).

“Traditionally, when a petition contains entirely unexhausted state claims, the petition

would be dismissed without prejudice.” United States v. Hickman, No. 06-6068, 191 F.

App’x 756, 757 (10th Cir. Aug. 11, 2006) (unpublished).




                                             7
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 8 of 14




       The “‘petitioner bears the burden of demonstrating that he has exhausted his

available state remedies.’” McCormick v. Kline, 572 F.3d 841, 851 (10th Cir. 2009) (quoting

Oyler v. Allenbrand, 23 F.3d 292, 300 (10th Cir. 1994)). See also Hernandez v. Starbuck,

69 F.3d 1089, 1092 (10th Cir. 1995) (same). The United States Court of Appeals for the

Tenth Circuit has explained the exhaustion requirement as follows:

              In order to satisfy the exhaustion requirement, a federal habeas
              corpus petitioner must show that a state appellate court has had
              the opportunity to rule on the same claim presented in federal
              court, or that at the time he filed his federal petition, he had no
              available state avenue of redress. The rationale for this
              requirement is that state courts will enforce the federal
              constitution as fully and fairly as a federal court.

Miranda v. Cooper, 967 F.2d 392, 398 (10th Cir. 1992) (citations omitted). “The exhaustion

requirement is satisfied if the federal issue has been properly presented to the highest state

court, either by direct review of the conviction or in a post-conviction attack.” Dever v.

Kan. State Penitentiary, 36 F.3d 1531, 1534 (10th Cir. 1994).

       In this case, Petitioner admits he did not raise any of his claims in a direct appeal of

his convictions. Doc. 10 at 6, 7, 9, 10. He did, however, file a Motion for Reduction in

Sentence/Provisional Release in Case No. CF-2022-1542 on September 27, 2023, wherein

he raised these claims (Exhibit 8, Motion for Reduction in Sentence/Provisional Release).

The state district court construed Petitioner’s motion as coming under Okla. Stat. tit. 22,

§ 982a, and denied relief on October 31, 2023 (Exhibit 9, Order Denying Motion for

Judicial Review Reduction in Sentence/Provisional Release). This order was not

appealable. See Doby v. Dowling, No. 15-6108, 632 F. App’x 485, 488 (10th Cir. Dec. 4,



                                              8
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 9 of 14




2015) (unpublished) (finding that Okla. Stat. tit. 22 § 982a “does not provide for appellate

review”).

       Though “[t]he exhaustion requirement is satisfied . . . ‘once [a] federal claim has

been fairly presented to the state courts,’” Parkhurst v. Shillinger, 128 F.3d 1366, 1368

(10th Cir. 1997) (quoting Castille v. Peoples, 489 U.S. 346, 351 (1989)), the claims in this

petition are not exhausted by virtue of Petitioner’s having raised them in the state district

court in a motion for judicial review under Okla. Stat. tit. 22, § 982a. See also Dever, 36

F.3d at 1534 (“The exhaustion requirement is satisfied if the federal issue has been properly

presented to the highest state court, either by direct review of the conviction or in a post-

conviction attack.” (emphasis added)). The Supreme Court holds that where a claim “has

been presented for the first and only time in a procedural context in which its merits will

not be considered unless ‘there are special and important reasons therefor,’ [r]aising the

claim in such a fashion does not, for the relevant purpose, constitute ‘fair presentation.’”

Castille, 489 U.S. at 351. The Tenth Circuit has repeatedly recognized that “relief under

§ 982 is discretionary and a denial of relief is not appealable.” Bohon v. Oklahoma, No.

No. 07-5169, 323 F. App’x 82, 84 n.1 (10th Cir. Apr. 3, 2008) (unpublished); Nicholson v.

Higgins, No. 05-7032, 147 F. App’x 7, 8 n.2 (10th Cir. Aug. 2, 2005) (unpublished)

(recognizing that motions under Okla. Stat. tit. 22, § 982a “seek discretionary review, [and]

their denial is not appealable”). See also Phillips v. Addison, No. 11-5100, 448 F. App’x

817, 819 n.1 (10th Cir. Oct. 26, 2011) (unpublished) (reiterating that relief under Okla. Stat.

tit. 22, § 982a is “a discretionary, non-appealable form of relief” (citing Bohon and

Nicholson)). Petitioner’s first and only time to present his claims has been in a motion to

                                              9
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 10 of 14




the state district court that seeks discretionary review which is not appealable. His

presentation of these claims in a discretionary non-appealable context does not constitute

exhaustion. Castille, 489 U.S. at 351. See also Hamburg v. Meyer, No. 92-8076, 992 F.2d

1222 (Table), 1993 WL 118863, *2 (10th Cir. Apr. 15, 1993) (unpublished) (holding that

raising new issues in a petition for rehearing, which seeks discretionary review, “does not,

for purposes of exhaustion, constitute fair presentation” (citing Castille, 489 U.S. at 350-

51)); O’Neal v. Newton-Embry, No. CIV-09-501-C, 2010 WL 1078385, *3 (W.D. Okla.

Feb. 10, 2020) (unpublished) (finding the petitioner’s equal protection/due process claim

to be unexhausted where she only raised it in a discretionary petition for rehearing in the

state court). Further, Petitioner cannot show he does not have an “available state avenue of

redress.” Miranda, 967 F.2d at 398.

       The Tenth Circuit “will not excuse a failure to exhaust state remedies in a 28 U.S.C.

§ 2254 action unless it is affirmatively shown that resort to them would be useless.” Id.

(citing Lewis v. New Mexico, 423 F.2d 1048, 1049 (10th Cir. 1970)). As his purported

reason for not raising these claims on direct appeal, Petitioner alleges: “I was told I could

not appeal”. Doc. 10 at 7, 8, 10, 11. However, a review of the Plea of Guilty Summary of

Facts paperwork in both of Petitioner’s cases demonstrates he was fully advised of his right

to appeal his convictions, as follows:

              To appeal from this conviction, or order deferring sentence, on
              your plea of guilty, you must file in the District Court Clerk’s
              office a written Application to Withdraw Plea of Guilty within
              ten (10) days form today’s date. You must set forth in detail
              why you are requesting to withdraw your plea. The Trial Court
              must hold a hearing and rule upon your application within
              thirty (30) days from the date it is filed. If the Trial Court denies

                                               10
       Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 11 of 14




             your application, you have the right to ask the Court of
             Criminal Appeals to review the District Court’s denial by filing
             a Petition for Writ of Certiorari within ninety (90) days from
             the date of the denial. Within ten (10) days from the date the
             Application to Withdraw Plea of Guilty is denied, Notice of
             Intent to Appeal and Designation of Record must be filed
             pursuant to Oklahoma Court of Criminal Appeals Rule 4.2(D).
             If you are indigent, you have the right to be represented on
             appeal by a court appointed attorney.

(Exhibit 3 at 11; see also Exhibit 1 at 11). 6 Petitioner confirmed in both cases that he

understood his rights to appeal (Exhibit 3 at 11; Exhibit 1 at 11). In any event, because

Petitioner has never appealed his convictions to the OCCA, he has available to him the

remedy of seeking an appeal of his convictions through an appeal out-of-time. In Williams

v. Nunn, No. CIV-22-7-SLP, 2022 WL 420771 (W.D. Okla. Jan. 12, 2022) (unpublished),

this Court explained the avenue of redress available to a petitioner whose time for

withdrawing his guilty pleas has passed:

                    Oklahoma has a procedure for directly appealing “any
             conviction on a plea of guilty,” which is not foreclosed to
             Petitioner. See Okla. Stat. tit. 22, § 1051(a) (providing “[a]n
             appeal to the Court of Criminal Appeals may be taken by the
             defendant, as a matter of right from any judgment against him,”
             and “all appeals taken from any conviction on a plea of guilty
             shall be taken by petition for writ of certiorari to the Court of
             Criminal Appeals”). While the time has passed for Petitioner
             to timely move to withdraw his plea,3 he may still move in the
             Stephens County District Court for an appeal out-of-time. See,
             e.g., Dixon v. State, 228 P.3d 531, 532 (Okla. Ct. Crim. App.
             2010) (holding that “prior to filing any petition with [the
             appellate court] seeking leave to commence an out-of-time
             appeal, a defendant must first file a verified post-conviction
             application in the trial court for such an appeal” and, to “be

6
  Respondent cites primarily to Exhibit 3, Petitioner’s plea paperwork in Case No. CF-
2022-1542, for this point, since it is questionable whether Petitioner is even challenging
his single conviction in Case No. CF-2022-465 at all. See supra, note 3.
                                            11
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 12 of 14




              entitled to the trial court’s recommendation that he be granted
              an out-of-time appeal,” the defendant “must establish before
              the trial court that he always desired to exercise that right of
              appeal but that he was denied the opportunity to do so through
              no fault of his own” (citing Rule 2.1(E), Rules of the Oklahoma
              Court of Criminal Appeals, Okla. Stat. tit. 22, Ch. 18, App.)).
                  3
                   See Rule 4.2, Rules of the Oklahoma Court of Criminal
                  Appeals, Okla. Stat. tit. 22, Ch. 18, App. (requiring a
                  defendant to file “an application to withdraw the plea
                  within ten (10) days from the date of the pronouncement
                  of the Judgment and Sentence, setting forth in detail the
                  grounds for the withdrawal of the plea and requesting
                  an evidentiary hearing in the trial court”).

Id. at *2.

       Petitioner in this case “has not pursued a post-conviction appeal for an appeal out-

of-time,” and he “therefore has not exhausted his available state court remedies.” Williams,

2022 WL 420771, *2. See also 28 U.S.C. § 2254(c) (“An applicant shall not be deemed to

have exhausted the remedies available in the courts of the State, within the meaning of this

section, if he has the right under the law of the State to raise, by any available procedure,

the question presented.”). The “state courts will enforce the federal constitution as fully

and fairly as a federal court.” Miranda, 967 F.2d at 398. This Court should not excuse

Petitioner’s failure to exhaust his available state court remedies. Id. The petition, presenting

entirely unexhausted claims, should be dismissed without prejudice. Bland, 459 F.3d at

1012; Hickman, 191 F. App’x at 757.

       It is necessary in the interest of comity that this Court require Petitioner to fully

exhaust his state court remedies as to his claims before entertaining the merits of

Petitioner’s habeas petition. See Duncan, 533 U.S. at 178-79. As set forth above, Petitioner


                                              12
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 13 of 14




has never presented any of his habeas claims to the OCCA, the State’s highest court on

criminal matters, and they are unexhausted. See Dever, 36 F.3d at 1534.

       For the foregoing reasons, the instant habeas petition is wholly unexhausted, and

under 28 U.S.C. § 2254(b)(1), a writ cannot be granted on this unexhausted petition. Rose,

455 U.S. at 510. Because Petitioner has an avenue of redress available to him in state court

through an appeal out-of-time, he should be required to return to state court to properly and

fully exhaust his claims before the OCCA. Williams, 2022 WL 420771, *2. Respondent

affirmatively does not waive the requirement of total exhaustion of state remedies with

respect to each of Petitioner’s claims, and, for the reasons stated herein, the instant habeas

petition is unexhausted and must be dismissed.

   C. Conclusion

       Respondent has shown above that Petitioner has fully discharged his sentence in

Case No. CF-2022-465, and his sentences on Counts 1-27 and 30-32 in Case No. CF-2022-

1542 (Exhibit 7), and he was not in custody on those sentences when he filed his habeas

petition on December 5, 2023. Doc. 1 at 8. As such, any claim related to these convictions

should be dismissed with prejudice for lack of jurisdiction. See Lackawanna, 532 U.S. at

401; Calhoun, 745 F.3d at 1073; Mantzke, 2009 WL 2409070, *4. See also Mays, 2008

WL 3012966, *2. Respondent has further shown that Petitioner’s petition must be

dismissed without prejudice because all of the claims raised therein are entirely

unexhausted. Rose, 455 U.S. at 515; Bland, 459 F.3d at 1012; Hickman, 191 F. App’x at

757. For all of the above reasons, Respondent respectfully requests that this Court dismiss

Petitioner’s habeas petition.

                                             13
        Case 5:24-cv-00102-SLP Document 14 Filed 04/17/24 Page 14 of 14




                                       Respectfully submitted,

                                       GENTNER F. DRUMMOND
                                       ATTORNEY GENERAL OF OKLAHOMA

                                       s/ KEELEY L. MILLER
                                       KEELEY L. MILLER, OBA #18389
                                       SENIOR ASSISTANT ATTORNEY GENERAL
                                       313 N.E. 21st Street
                                       Oklahoma City, OK 73105
                                       (405) 521-3921
                                       (405) 522-4534 (FAX)
                                       Service email: fhc.docket@oag.ok.gov

                                       ATTORNEYS FOR RESPONDENT




                             CERTIFICATE OF SERVICE

       X     I hereby certify that on April 17, 2024, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing.

      X       I hereby certify that on April 17, 2024, I served the attached document by
mail on the following, who is not a registered participant of the ECF System:

       Michael S. Hanson, Jr. #1000153
       Jess Dunn Correctional Center
       P.O. Box 316
       Taft, OK 74463-0316

                                       s/ KEELEY L. MILLER




                                            14
